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                                   4                                UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                      Case No. C-07-5944 JST

                                   9                                                      ORDER TO SHOW CAUSE RE:
                                        This Order Relates To:                            OBJECTION TO EX PARTE
                                  10                                                      COMMUNICATIONS
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Special Master Quinn filed a Report and Recommendation (“R&R”) regarding the pending

                                  14   settlement between Indirect Purchaser Plaintiffs (“IPPs”) and various Defendants. See ECF No.

                                  15   4351. Objectors Joseph D. Cooper and Fancis O. Scarpulla (collectively, “Objectors”) filed a

                                  16   timely objection, ECF No. 4437 (“C-S Obj.”), to which Mario N. Alioto, Lead Counsel for IPPs

                                  17   timely responded, ECF No. 4449 (“IPP Resp.”).

                                  18          Objectors’ final objection to the settlement suggests that Special Master Quinn may have

                                  19   relied on ex parte communications of a non-administrative nature in considering the parties’

                                  20   arguments and preparing his R&R. See C-S Obj. at 14-15. They request

                                  21                 that prior to the March 15, 2016 Fairness Hearing, the record be
                                                     supplemented with: (1) the Alioto letter [described elsewhere as
                                  22                 “Alioto Ltr. Dtd. 1/7/16 to Special Master, e-filed at JAMS”] and all
                                                     additional materials, including time records, submitted to and
                                  23                 considered by the Special Master, and all communications, letters,
                                                     emails and text messages between the Special Master and Counsel
                                  24                 that were [not] posted on Case Anywhere; and (2) all notes and
                                                     entries in the Special Master’s time records which memorialize
                                  25                 communications with Counsel.
                                  26   ECF No. 4437 at 19-20. Lead Counsel acknowledge that there were ex parte contacts, but deny

                                  27   that any of them were improper. ECF No. 4449 at 57. Lead Counsel say nothing in response to

                                  28   the request that they and Special Master Quinn supplement the Case Anywhere record. No party
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                                   1   cites any authority.

                                   2          The Court cannot adjudicate this objection without further information. Accordingly, the

                                   3   Court now orders as follows:

                                   4          1.      Objectors are ordered to provide authority in support of their request that the Court

                                   5   order the Special Master to produce his time records. This authority must be contained in a brief

                                   6   of no more than five pages, which must be filed by March 8, 2016 at 5:00 p.m. The Special

                                   7   Master may, but is not required to, file a response by March 11, 2016 at 5:00 p.m. of no more than

                                   8   five pages.

                                   9          2.      Lead Counsel is ordered to either (a) file all requested documents on the Case

                                  10   Anywhere docket and also file an affidavit on this Court’s docket certifying this has been

                                  11   accomplished by March 8, 2016 at 5:00 p.m., and/or (b) file a log of such documents with the

                                  12   Court and SHOW CAUSE why any document submitted to Special Master Quinn that is not
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                                  13   already on the Case Anywhere docket was a proper ex parte communication that should not be

                                  14   published on the Case Anywhere (or ECF) docket. If Lead Counsel chooses the latter option, their

                                  15   brief may be no longer than ten pages, excluding the log. Lead Counsel may also choose both

                                  16   courses of action, i.e., file some of the requested documents on the Case Anywhere docket (such

                                  17   as their email correspondence with Special Master Quinn) and show cause as to the remainder

                                  18   (such as their attorney billing records).1

                                  19          Unless the Court directs otherwise, there will be no Show Cause Hearing. The schedule

                                  20   for the Fairness Hearings on March 15, 2016 and April 19, 2016 remains unchanged by this order.

                                  21          Should Objectors wish to respond or make a new objection based on any document

                                  22   disclosed pursuant to this Order, they will be permitted to do so at the Fairness Hearing on March

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                                  28    The use of these examples is not meant to suggest that any particular category of documents
                                       must, or must not, be filed on the Case Anywhere docket.
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                                   1   15, 2016. However, no new objections will be permitted unless the objector can show why the

                                   2   objection could not have been made prior to disclosure of the documents ordered disclosed herein.

                                   3          IT IS SO ORDERED.

                                   4   Dated: March 4, 2015
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                                                                                                    JON S. TIGAR
                                   6                                                          United States District Judge

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